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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        Case No. 1:15-cr-00304-DAD-BAM-3
12                     Plaintiff,
13          v.                                        STIPULATION AND ORDER
14   LUIS ENRIQUE FLORES,
15                     Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by

18   and through his counsel of record, hereby stipulate as follows:

19          1.      The Judgment of Conviction in this matter shall state that the Defendant was

20                  sentenced to 6 months in custody with credit for time served.

21   DATED:         October 17, 2016.      Respectfully submitted,

22                                         PHILLIP A. TALBERT
23                                         Acting United States Attorney

24                                         /s/ Karen A. Escobar___________________
                                           KAREN A. ESCOBAR
25                                         Assistant United States Attorney
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     Case 1:15-cr-00304-DAD-BAM Document 100 Filed 10/18/16 Page 2 of 2


 1   DATED:         October 17, 2016.     /s/ Gary Huss
                                          GARY HUSS
 2                                        Counsel for Enrique Luis Flores
 3

 4                                        ORDER
 5          The Judgment of Conviction in this matter shall state that the Defendant was sentenced to
 6   6 months in custody with credit for time served.
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     IT IS SO ORDERED.
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        Dated:     October 18, 2016
 9                                                          UNITED STATES DISTRICT JUDGE
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